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CLEW<, U.S. Di $`E
W.D. OF TN, Mi:`.viPHfS

Plaintiff, *

CR. No. 04-20108-D/V
v. *
I\/l/-\RY |\/|OSBY SANDERS, *
Defendant. *

 

ORDER OF D|SM|SSAL

 

Upon i\/iotion of the United States, for the dismissal of the indictment against the
above-captioned individua|, this case is hereby dismissed as to i\/iary |Viosby Sanders.

Entered on this g 2 A day of Apri!, 2005.

   

 

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This document entered on the dockets est in omp£§i_ance ~ '
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Honorable Bernice Donald
US DISTRICT COURT

